     Case 2:21-cv-04295-DSF-PD Document 33 Filed 08/05/21 Page 1 of 5 Page ID #:120




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 6    Attorneys for Defendants Lucid Group, Inc. (f/k/a
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 7    Rawlinson
 8    (Additional Counsel Listed on Signature Pages)
 9                            UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11                                     WESTERN DIVISION
12    AREC D. SIMERI,
13                            Plaintiff,           Case No. 2:21-CV-04295-DSF-PD

14         v.                                      DEFENDANTS’ NOTICE OF
15    CHURCHILL CAPITAL CORPORATION                MOTION AND MOTION TO
      IV, ATIEVA INC. d/b/a LUCID                  TRANSFER VENUE OR, IN THE
16    MOTORS, MICHAEL KLEIN, JAY                   ALTERNATIVE, STAY
      TARAGIN, and PETER RAWLINSON,
17
                              Defendants.
18
                                                   Date:     October 18, 2021
19
                                                   Time:     1:30 p.m.
20
                                                   Dept.:    Courtroom 7D
21
                                                   Judge:    Honorable Dale S. Fischer
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     DEFS’ NOTICE OF MTN & MTN TO                      CASE NO. 2:21-CV-04295-DSF-PD
     TRANSFER VENUE
     Case 2:21-cv-04295-DSF-PD Document 33 Filed 08/05/21 Page 2 of 5 Page ID #:121




 1          PLEASE TAKE NOTICE THAT on October 18, 2021, at 1:30 p.m., or as soon
 2    thereafter as counsel may be heard, in Courtroom 7D of the above-entitled Court,
 3    located at 350 West 1st Street, Los Angeles, California 90012, Defendants will and
 4    hereby do move the Court for an Order, pursuant to the “first-to-file” rule and 28 U.S.C.
 5    § 1404(a), transferring this action from the Central District of California to the Northern
 6    District of Alabama or, in the alternative, staying this action pending the resolution of
 7    a related matter in the Northern District of Alabama, Phillips v. Churchill Capital Corp.
 8    IV, et al., No. 1:21-cv-00539-ACA (N.D. Ala.).
 9           This motion is based upon this Notice of Motion and Motion, the Memorandum
10    of Points and Authorities and Declaration of Neal A. Potischman filed concurrently
11    herewith, all pleadings and papers on file in this action, and upon such other matters as
12    may be presented to the Court prior to or at the time of the hearing on this motion.
13            This motion is made following a conference of counsel pursuant to Local Rule
14    7-3, which took place on June 28, 2021.
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     DEFS’ NOTICE OF MTN & MTN TO                  1       CASE NO. 2:21-CV-04295-DSF-PD
     TRANSFER VENUE
     Case 2:21-cv-04295-DSF-PD Document 33 Filed 08/05/21 Page 3 of 5 Page ID #:122




 1     Dated: August 5, 2021                By:     /s/ Neal A. Potischman
 2                                                  NEAL A. POTISCHMAN

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 8                                          -and-
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19                                          Inc., and Peter Rawlinson
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     DEFS’ NOTICE OF MTN & MTN TO            2      CASE NO. 2:21-CV-04295-DSF-PD
     TRANSFER VENUE
     Case 2:21-cv-04295-DSF-PD Document 33 Filed 08/05/21 Page 4 of 5 Page ID #:123




 1     Dated: August 5, 2021                By:     /s/ Charles W. Cox
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22                                          Attorneys for Defendants Michael Klein
                                            and Jay Taragin
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     DEFS’ NOTICE OF MTN & MTN TO            3      CASE NO. 2:21-CV-04295-DSF-PD
     TRANSFER VENUE
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 1          Filer’s Attestation: Pursuant to Local Rule 5-4.3.4(a)(2)(i) regarding signatures,
 2    Neal A. Potischman hereby attests that all other signatories listed concur in the content
 3    of this document and have authorized its filing.
 4                                                /s/ Neal A. Potischman
 5                                                Neal A. Potischman
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     DEFS’ NOTICE OF MTN & MTN TO                 4       CASE NO. 2:21-CV-04295-DSF-PD
     TRANSFER VENUE
